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                                                                     1   Courtney Miller O’Mara (NV Bar No. 10683)                             Efiled: May 31, 2018
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                                                                         Litigation Trust
                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12                               UNITED STATES BANKRUPTCY COURT
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                                         DISTRICT OF NEVADA
                                            ATTORNEYS AT LAW




                                                                    14   In re:                                            Case No. 16-51282-gwz
                                                                    15   NEW CAL-NEVA LODGE, LLC,                          Chapter 11
                                                                    16                                  Debtor.            MOTION OF LITIGATION TRUST FOR
                                                                                                                           ORDER EXTENDING CLAIMS OBJECTION
                                                                    17                                                     DEADLINE
                                                                    18                                                     Hearing Date: June 28, 2018
                                                                                                                           Hearing Time: 2:00 p.m.
                                                                    19

                                                                    20            The New Cal-Neva Lodge Litigation Trust (the “Trust”), through the undersigned counsel,

                                                                    21   hereby files this motion (the “Motion”) seeking entry of an order substantially in the form attached

                                                                    22   hereto as Exhibit A extending the Claims Objection Deadline (as defined below) from July 9, 2018

                                                                    23   to January 31, 2019.

                                                                    24            This Motion is based on the following memorandum of points and authorities and any other

                                                                    25   evidence properly before the Court.

                                                                    26            WHEREFORE, the Proponents respectfully request that the Court enter an order

                                                                    27   (a) modifying the Plan as set forth herein; and (b) granting such other and further relief as is just and

                                                                    28   proper under the circumstances.


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                                                                     1                               MEMORANDUM OF POINTS AND AUTHORITIES

                                                                     2                                                       I.

                                                                     3                                         STATEMENT OF FACTS

                                                                     4   A.       General Background

                                                                     5            On July 28, 2016 (the “Petition Date”), the Debtor commenced its bankruptcy case by filing

                                                                     6   a voluntary petition under chapter 11 of the Bankruptcy Code.

                                                                     7            On October 16, 2017, the Court entered the Findings of Fact and Conclusions of Law in

                                                                     8   Support of Order Confirming First Amended Plan of Liquidation for New Cal-Neva Lodge, LLC

                                                                     9   Jointly Proposed by Lawrence Investments, LLC and the Official Committee of Unsecured Creditors

                                                                    10   Dated August 16, 2017 [Docket No. 965] and Order Confirming First Amended Plan of Liquidation

                                                                    11   for New Cal-Neva Lodge, LLC Jointly Proposed by Lawrence Investments, LLC and the Official
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                                                                    12   Committee of Unsecured Creditors [Docket No. 996] (the “Confirmation Order”). The Trustee was
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                                                                    13   duly appointed under the Confirmation Order.
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                                                                    14            On January 10, 2018, the Effective Date occurred under the Plan and the Trust came into

                                                                    15   effect, pursuant to which the Trust was provided the authority under the Confirmation Order and

                                                                    16   Plan to resolve all claims asserted against the Debtor’s estate.

                                                                    17            Since the Effective Date, the Trust has worked to make payments required under the Plan and

                                                                    18   Confirmation Order to be made on the Effective Date of the Plan. Further, the Trust has completed

                                                                    19   its reconciliation of all priority claims and is now in the process of reconciling secured claims.

                                                                    20   Concurrently herewith, the Trust has filed an omnibus objection to disallow certain priority and

                                                                    21   secured claims on the basis that such claims have been paid/satisfied.

                                                                    22            Pursuant to the Article VIII.A.7, the deadline to object to claims is 180 days after the

                                                                    23   Effective Date, July 9, 2018 (the “Claims Objection Deadline”).

                                                                    24            This is the Trust’s first request for an extension of the Claims Objection Deadline.

                                                                    25                                                      II.

                                                                    26                                           RELIEF REQUESTED

                                                                    27            By this Motion, the Trust requests a six month extension of the Claims Objection Deadline to

                                                                    28   January 31, 2019. This extension is without prejudice to further extensions that the Trustee may

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                                                                     1   request at a later date. The Trust requires additional time to reconcile all claims filed in this case

                                                                     2   consensually if possible and, if not, by means of formal objection.

                                                                     3            The Plan expressly provides that the Trustee may obtain an extension of the Claim Objection

                                                                     4   Deadline, providing that such deadline may be extended to such later date as may be fixed by order

                                                                     5   of the Bankruptcy Court. The requested extension would result in a more equitable resolution of any

                                                                     6   potentially, disputed claims in this case, and therefore furthers the bankruptcy policy of equality of

                                                                     7   distribution among similarly situated creditors. Accordingly, the Trustee believes the requested six

                                                                     8   month extension of the Claims Objection Deadline is warranted.

                                                                     9                                                      III.

                                                                    10                                     BASIS FOR REQUESTED RELIEF

                                                                    11            The Plan, the Bankruptcy Code and Bankruptcy Rules provide the Court with the authority to
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                                                                    12   grant the requested extension of the Claims Objection Deadline. The Plan contemplates an
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                                                                    13   extension of the deadline, as the definition of “Claims Objection Deadline” in Article II.A.24
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                                                                    14   includes “unless further extended by the Bankruptcy Court upon request of the Litigation Trustee.”

                                                                    15   Also, section 105 of the Bankruptcy Code provides that the Court may “issue any order … necessary

                                                                    16   or appropriate to carry out the provisions of this title.” Further, the Federal Rules of Bankruptcy

                                                                    17   Procedure 9006(b) provide in relevant part -

                                                                    18                     [W]hen an act is required or allowed to be done at or within a specified
                                                                                           period by these rules or by a notice given thereunder or by order of
                                                                    19                     court, the court for cause shown may …. order the period enlarged if
                                                                                           the request therefor is made before the expiration of the period
                                                                    20                     originally prescribed...”
                                                                    21   Fed. R. Bankr. P. 9006(b)(1).

                                                                    22            Cause exists to further extend the Claims Objection Deadline in this case. First, this Motion

                                                                    23   falls within the ambit of Rule 9006(b)(1) because it is filed before the Claims Objection Deadline

                                                                    24   and is therefore timely. Second, the Trust is diligently working with its professionals to further

                                                                    25   reconcile all claims and attempt to informally resolve any remaining, potentially disputed claims.

                                                                    26   Third, the Plan contemplates an extension of the Claims Objection Deadline (and any subsequent

                                                                    27   claims objection deadlines) so as to enable the Trustee to more effectively prosecute and resolve

                                                                    28   disputed claims. Under these circumstances, the Trust believes that cause exists to extend the

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                                                                     1   Claims Objection Deadline from July 9, 2018 to January 31, 2019 and that the Motion should be

                                                                     2   granted.

                                                                     3            WHEREFORE, the Trust respectfully requests that the Court enter an order substantially in

                                                                     4   the form attached hereto as Exhibit A extending the Claims Objection Deadline from July 9, 2018 to

                                                                     5   January 31, 2019, with the right to request a further extension as necessary.

                                                                     6   Dated: May 31, 2018

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                                   EXHIBIT A

                                 (Proposed Order)




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                                                                         Counsel for the New Cal-Neva Lodge Litigation Trust
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                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                    18
                                                                                                             DISTRICT OF NEVADA
                                                                    19

                                                                    20   In re:                                        Case No. 16-51282-gwz

                                                                    21   NEW CAL-NEVA LODGE, LLC,                      Chapter 11

                                                                    22                                 Debtor.         ORDER APPROVING MOTION OF
                                                                                                                       LITIGATION TRUST FOR ORDER
                                                                    23                                                 EXTENDING CLAIMS OBJECTION
                                                                                                                       DEADLINE
                                                                    24
                                                                                                                       Hearing Date:    June 28, 2018
                                                                    25                                                 Hearing Time:    2:00 p.m.

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                                                                     1            The Litigation Trustee in the above-captioned matter, having filed the Motion of Litigation

                                                                     2   Trust for Order Extending Claims Objection Deadline [Docket No. ____] (the “Motion”);1 the Court

                                                                     3   having reviewed the Motion; and the Court having found that (i) the Court has jurisdiction over this

                                                                     4   matter pursuant to 28 U.S.C. §§ 157 and 1134, (ii) the relief requested in the Motion is a core

                                                                     5   proceeding pursuant to 28 U.S.C. § 157(b), (iii) notice of the Motion was sufficient under the

                                                                     6   circumstances, and (iv) the requested relief is in the best interests of the Debtor, its estate, its

                                                                     7   creditors, and other parties in interest,

                                                                     8            IT IS HEREBY ORDERED THAT:

                                                                     9            1.       The Motion is GRANTED.

                                                                    10            2.       The Claims Objection Deadline is hereby extended from July 9, 2018 to January 31,

                                                                    11   2019.
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                                                                    12            3.       This order is without prejudice to the Litigation Trust’s right to seek a further
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                                                                    13   extension of the Claims Objection Deadline.
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                                                                    14            4.       The Court will retain jurisdiction to hear and determine all matters arising from or

                                                                    15   related to this Order.

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                                                                             Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.

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